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                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

    REBECCA SCOFIELD,                                     Case No. 3:22-cv-00521-REP

                            Plaintiff,                    Motion to Strike Defendant’s Answer,
                                                          Affirmative Defenses and
           v.                                             Counterclaims to Complaint [Dkt. 6]

    ASHLEY GUILLARD,

                            Defendant.


          After the clerk filed a clerk’s entry of default, Defendant Ashley Guillard filed an answer

and counterclaims. ECF 6. The answer and counterclaims are untimely. Fed. R. Civ.

P. 12(a)(1)(A)(i). They are also procedurally improper because the clerk’s entry of default has not

been set aside and should not be side for the reasons set forth in Plaintiff’s Response to Defendant’s

Motion for Relief from a Judgment or Order Pursuant to Federal Rule of Civil Procedure 60(b).
            1
ECF 9.          The Court should thus strike Defendant’s Answer, Affirmative Defenses and



1
 The counterclaims are also procedurally improper, in part, because Defendant attempts to name
Plaintiff’s counsel, who are not an “opposing party.” Fed. R. Civ. P. 13.


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Counterclaim to Complaint [Dkt. 6], either under Rule 12(f) or pursuant to its inherent powers.

E.g., Lake v. Fellner, No. 2:12-CV-01345-GMN, 2014 WL 664653, at *2 (D. Nev. Feb. 19, 2014)

(“Here, Defendant failed to properly answer the Complaint until over a year after the time to

respond had run and after an entry of default. Accordingly, it is within the Court’s discretion to

dismiss Defendant’s Answers, which are untimely and improper.”); Webster Cap. Fin., Inc. v.

Milt’s Eagle, LLC, No. 2:09-CV-01367-RLH, 2011 WL 1155440, at *2 (D. Nev. Mar. 28, 2011)

(“Milt’s Eagle failed to answer Plaintiff's allegations until four weeks after the 21-day deadline for

the Second Amended Complaint . . . . Accepting the Plaintiff's factual allegations as true, the Court

therefore strikes Defendants’ improper answer.”); J&J Sports Prods., Inc. v. Lawson, No. 3:17-

CV-02939-JMC, 2019 WL 1754744, at *3 n.2 (D.S.C. Apr. 19, 2019) (striking an untimely answer

“because the filing of an answer must always be timely”).

          DATED: February 27, 2023.

                                                     STOEL RIVES LLP



                                                     /s/ Wendy J. Olson
                                                     Wendy J. Olson
                                                     Elijah M. Watkins
                                                     Cory Carone

                                                     Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 27, 2023, I served a copy of the foregoing via overnight
mail as follows:

         Ashley Guillard
         4100 Southwest Parkway, Apt. 368
         Houston, TX 77027



                                             /s/ Wendy J. Olson
                                             Wendy J. Olson




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